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                       CASE NO. 20-CV-845-G


       IN THE UNITED STATES DISTRICT COURT FOR THE
              WESTERN DISTRICT OF OKLAHOMA




                        KRISTA RAMIREZ,
                              Plaintiff,
                                  v.

    STATE OF OKLAHOMA, ex rel., BOARD OF REGENTS FOR THE
REGIONAL UNIVERSITY SYSTEM OF OKLAHOMA, and SOUTHEASTERN
               OKLAHOMA STATE UNIVERSITY

                             Defendants.




    DEFENDANTS’ MOTION TO DISMISS AND BRIEF IN SUPPORT




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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA

    (1) KRISTA RAMIREZ,

             Plaintiff,
    v.                                         Case No.: 20-cv-845-G

    (1) STATE OF OKLAHOMA ex rel.,
        BOARD OF REGENTS FOR THE
        REGIONAL UNIVESITY SYSTEM              (Removed from the Oklahoma County
        OF OKLAHOMA, and                       District Court Case No.: CJ-2020-3455)
    (2) SOUTHEASTERN OKLAHOMA
        STATE UNIVERSITY,

            Defendants.

         DEFENDANTS’ MOTION TO DISMISS AND BRIEF IN SUPPORT

         Defendants, State of Oklahoma, ex rel., Board of Regents for the Regional

University System of Oklahoma (“RUSO”), and Southeastern Oklahoma State University

(“SEOSU”), (collectively “University Defendants” or “the State”), and pursuant to Fed. R.

Civ. P. 12(b)(1) and 12(b)(6) move this Court for an order dismissing Plaintiff’s Complaint.

[Doc. 1-2]. In support hereof, University Defendants submit the following brief:

                                    INTRODUCTION

         Plaintiff originally filed 1 this case on July 28, 2020, in the District Court of

Oklahoma County, State of Oklahoma, as Krista Ramirez v. Board of Regents for the

Regional University System of Oklahoma and Southeastern Oklahoma State University,

Case No. CJ-2020-3455, alleging violations of the Americans with Disabilities Act



1
 Plaintiff’s initiating document filed in Oklahoma County was denominated “Petition.”
Consistent with Federal nomenclature, that document will be referred to herein as the
“Complaint” or “Lawsuit.”
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(“ADA”) 42 U.S.C. §§ 12111-12117, the Oklahoma Anti-Discrimination Act (“OADA”)

OKLA. STAT. tit. 25 §1101 et. seq., and the Family and Medical Leave Act (“FMLA”), 29

U.S.C. §2601 et. seq. RUSO and SEOSU deny Plaintiff received unfair or unlawful

treatment. Plaintiff was terminated for legitimate, non-discriminatory reasons.

                                 STATEMENT OF THE CASE

       Failing to offer any enumerated counts or claims, the Complaint makes three (3)

general assertions against two (2) separate Defendants, RUSO and SEOSU: (a) that

Plaintiff’s rights under the ADA were violated; (b) that Plaintiff’s rights under the OADA

were violated; and (c) that Plaintiffs rights under the FMLA were violated. As shown

below, Plaintiff’s Complaint fails to meet the pleading requirements to maintain viable

claims against Defendants. Plaintiff’s Lawsuit should be dismissed.

                               STANDARD OF REVIEW

       Fed. R. Civ. P. 12(b)(1) empowers a court to dismiss a complaint for “lack of

jurisdiction over the subject matter.” A Rule 12(b)(1) motion to dismiss “must be

determined from the allegations of fact in the complaint, without regard to mere conclusory

allegations of jurisdiction.” Groundhog v. Keller, 442 F.2d 674, 677 (10th Cir. 1971). The

burden of establishing subject matter jurisdiction is on the party asserting jurisdiction. See

Basso v. Utah Power and Light Co., 495 F.2d 906, 909 (10th Cir.1974), and Eagle Air Med

Corp. v. Martin, No. CIV.A. 08-CV-00532LT, 2009 WL 651800 (D. Colo. Mar. 12, 2009)

aff’d, 377 F. App’x 823 (10th Cir. 2010).

       Rule 12(b)(1) motions generally take one of two forms. First, a moving party may

make a facial attack on the complaint's allegations as to the existence of subject matter

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jurisdiction. Holt v. United States, 46 F.3d 1000, 1002 (10th Cir. 1995). In reviewing the

facial attack, the district court must accept the allegations in the complaint as true. Id.

Second, a party may go beyond the allegations contained in the complaint and challenge

the facts upon which subject matter jurisdiction depends. Id. at 1003. The court has wide

discretion to allow evidence outside the pleadings and the court's reference to such

evidence does not convert the motion into a Rule 56 motion. Id. A court is required to

convert a Rule 12(b)(1) motion into a Rule 56 motion when resolution of the jurisdictional

question is intertwined with the merits of the case. Holt, 46 F.3d at 1003. Here, resolution

of the jurisdictional question, discussed hereinafter, is not intertwined with the merits.

       Fed. R. Civ. P. (12)(b)(6) empowers a court to dismiss a complaint for failure to

state claims upon which relief may be granted. Motions to dismiss are properly granted

when a complaint provides no “more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action.” Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 127 S.Ct. 1955, 1965 (2007). A complaint must contain enough “facts to state a claim

to relief that is plausible on its face” and those factual allegations “must be enough to raise

a right to relief above the speculative level.” Id. at 1965, 1974 (citations omitted). The

Supreme Court’s standard for 12(b)(6) dismissal is “whether the complaint contains

‘enough facts to state a claim that is plausible on its face.’” Ridge at Red Hawk, L.L.C. v.

Schneider, 493 F.3d 1174, 1177 (10th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570, 127 S.Ct. 1955, 1974 (2007)). The court should “look for plausibility in

th[e] complaint.” Alvarado v. KOBTV, L.L.C., 493 F.3d 1210, 1215 (10th Cir. 2007)

(quoting Bell Atl., 127 S.Ct. at 1974). The specific allegations in the complaint must be

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reviewed “to determine whether they plausibly support a legal claim for relief.” Id. at 1215,

n.2; see also Kay v. Bemis, 500 F.3d 1214, 1218 (10th Cir. 2007). Entitlement to relief

requires more than just “labels and conclusions or a formulaic recitation of the elements”

to state a cause of action. Robbins v. State of Okla., et al., 519 F.3d 1242, 1247 (10th Cir.

2008) (quoting Bell Atl., 127 S.Ct. at 1965). In deciding a 12(b)(6) motion, a court must

accept all the well-pleaded allegations of the complaint as true, and must construe the

allegations in the light most favorable to the claimant. Id. at 1965; Alvarado at. 1215;

Moffett v. Halliburton Energy Servs., Inc., 291 F.3d 1227, 1231 (10th Cir. 2002).

       However, the court must also ensure that each defendant has adequate notice as to

the facts and allegations entitling Plaintiff to the requested relief. See Fed. R. Civ. P. 8(a)(2)

(“A pleading that states a claim for relief must contain a short and plain statement of the

claim showing that the pleader is entitled to relief”); Bell Atlantic, supra. In this regard, it

is important “that the complaint make clear exactly who is alleged to have done what to

whom, to provide each individual with fair notice as to the basis of the claims against . . .

her, as distinguished from collective allegations against the [defendants as a group].”

Robbins at 1250 (citation omitted) (emphasis in original).

       A court is not required to accept as true allegations that are conclusory in nature.

Erikson v. Pawnee County Bd. of County Comm’rs, 263 F.3d 1151, 1154-55 (10th Cir.

2001) (citations omitted). “[C]onclusory allegations without supporting factual averments

are insufficient to state a claim upon which relief can be based.” Hall v. Bellmon, 935 F.2d

1106, 1109-10 (10th Cir. 1991). Similarly, “in analyzing the sufficiency of the plaintiff’s

complaint, the court need accept as true only the plaintiff’s well-pleaded factual

                                              ~4~
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contentions, not h[er] conclusory allegations.” Id. See also Bryan v. Stillwater Bd. of

Realtors, 578 F.2d 1319, 1321 (10th Cir. 1977) (“allegations of conclusions or opinions

are not sufficient when no facts are alleged by way of the statement of the claim.”);

Oppenheim v. Sterling, 368 F.2d 516, 519 (10th Cir. 1966) (“unsupported conclusions of

the pleader may be disregarded”). As the Supreme Court put it:

       Two working principles underlie Twombly. First, the tenet that a court must
       accept a complaint's allegations as true is inapplicable to threadbare recitals
       of a cause of action's elements, supported by mere conclusory statements.
       Id., at 555, 127 S.Ct. 1955. Second, determining whether a complaint states
       a plausible claim is context specific, requiring the reviewing court to draw
       on its experience and common sense. Id., at 556, 127 S.Ct. 1955. A court
       considering a motion to dismiss may begin by identifying allegations that,
       because they are mere conclusions, are not entitled to the assumption of truth.
       While legal conclusions can provide the complaint's framework, they must
       be supported by factual allegations.

Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1940 (2009). Further, “[a]lthough decided

within an antitrust context, Twombly ‘expounded the pleading standard for all civil

actions.’” Id. at 683.

I.     PLAINTIFF FAILED TO EXHAUST REMEMDIES.

       a. OADA claim

       Plaintiff fails to allege compliance with the Oklahoma Governmental Tort Claims

Act (“GTCA”). (OKLA. STAT. tit. 51 § 151 et seq.) This is fatal to her OADA claim. Prior

to the enactment of the GTCA, the State of Oklahoma and all of its agencies (like RUSO

and SEOSU), arms, and officials enjoyed common law sovereign immunity from tort

liability. The GTCA, passed by the Oklahoma Legislature in response to the Oklahoma

Supreme Court’s ruling in Vanderpool v. State, 672 P.2d 1153 (Okla. 1983), sets forth the


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precise extent to which the State is no longer immune. Section 152.1 of the GTCA provides

that the State of Oklahoma adopts the doctrine of sovereign immunity, and that the State

and all of its constituent parts shall be immune from liability for torts. It also provides the

limited circumstances under which the State waives immunity, (only to the extent and

manner provided for in the GTCA). 2

       The State’s and University Defendants’ tort liability are governed exclusively by

the GTCA. OKLA. STAT. tit. 51 § 151 et seq.; OKLA. STATE tit. 51 § 153(B). In Fuller v.

Odom, 1987 OK 64, 741 P.2d 449, 452, the Supreme Court of Oklahoma explained that

the GTCA is the exclusive remedy against a governmental entity in this State for the

recovery of damages for the tortious acts of its employees. (See also Girdner v. Bd. of

Comm’rs, 2009 OK CIV APP 94, 227 P.3d 1111, 1114. “The GTCA is the exclusive

remedy by which an injured plaintiff may recover in tort against a governmental entity in

this state.”)

       The GTCA requires that any person with a purported claim against the State shall

present the claim to the State in writing, to certain offices or personnel. The GTCA also

requires that a would-be Plaintiff may not file suit against the State or its subdivisions

unless the underlying tort claim was timely made, and was denied in whole or in part during



2
  A. The State of Oklahoma does hereby adopt the doctrine of sovereign immunity. The
state . . ., whether performing governmental or proprietary functions, shall be immune from
liability for torts.

B. The state, only to the extent and in the manner provided in this act, waives its immunity
...

OKLA. STAT. tit. 51 § 152.1
                                            ~6~
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the administrative process, (either expressly or by operation of law due to the passage of

sufficient time). Further, the lawsuit subsequently brought must then be filed within the

appropriate timeframe after denial of the claim. (OKLA. STAT. tit. 51 §§ 156 & 157). “No

action for any cause arising under this act . . . shall be maintained unless valid notice has

been given . . .” OKLA. STAT. 51 § 157(B) (emphasis added). See also Duncan v. City of

Nichols Hills, 1996 OK 16, ¶¶ 14-15, 913 P.2d 1303, 1307 (citations omitted); and

Shanbour v. Hollingsworth, 1996 OK 67, ¶ 7, 918 P.2d 73, 75 (Compliance with written

notice of claim and provision is prerequisite to state’s consent to be sued in GTCA actions

and to the exercise of judicial power to remedy alleged tortious wrong by government.)

Plaintiff’s Lawsuit does not allege that Plaintiff made the requisite written notice of any

tort claim to the State Office of Risk Management’s Administrator. The Lawsuit does not

allege that the tort claim was denied (either expressly or by operation of law), and the

Lawsuit does not allege the Complaint was filed within the correct post-denial timeframe.

        In Davis v. Board of Regents for Oklahoma State University, 2001 OK CIV APP

65, 25 P.3d 308, the Oklahoma Court of Civil Appeals held that a plaintiff’s employment

law claims were bound by the provision of the GTCA, and his failure to comply with the

notice requirement was fatal to his case. Id. at 310. Similarly, in Randolph v. Oklahoma

Military Department ex rel. State of Oklahoma, 1995 OK CIV APP 30, 895 P.2d 736, the

court therein dismissed a plaintiff’s claim for wrongful termination due to failure to file a

notice of tort claim pursuant to the GTCA. Id. at 738. More recently, a court in this Federal

District found that a plaintiff’s failure to comply with the GTCA precluded jurisdiction

over OADA claims against a governmental entity. In Childers v. Bd. of Comm’rs of

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Oklahoma County, No. CIV-19-460-F, 2019 WL 3069446, at *5 (W.D. Okla. July 12,

2019), the complaint there included no allegations Plaintiff had complied with the GTCA.

Among other things, the Honorable Judge Friot found this fatal to the OADA claim, and

that “[t]he GTCA also requires the notice to include very specific information regarding,

for example, the amount of compensation or other relief demanded. 51 O.S. § 156(E).” Id.

Going on, the court found that, “dismissal of the OADA claims is warranted. The OADA

claims will be dismissed without prejudice for lack of jurisdiction under Rule 12(b)(1).”

       In the case at bar, it is evident from a plain reading of the Complaint that the Lawsuit

makes no mention of the GTCA. There are no factual averments about a timely notice of

tort claim provided to the State, or that Plaintiff provided information as to the amount of

compensation or other relief demanded. The Lawsuit is bereft of any allegation that

Plaintiff’s tort claim was denied either expressly or by passage of time, and the Lawsuit

lacks any allegation that this case was filed within the permitted post-denial time period.

Accordingly, Plaintiff’s OADA claim must be dismissed, just in like Childers, for lack of

jurisdiction pursuant to Rule 12(b)(1).

       b. ADA claim

       Disability accommodations in employment are governed by Title I of the ADA.

Plaintiffs must exhaust administrative remedies before filing an ADA Title I lawsuit. See

42 U.S.C. § 2000e-5(e)(1) (Title VII charges must be filed within 180 days of the alleged

unlawful employment practice); 42 U.S.C. § 12117(a) (applying Title VII remedies and




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procedures to ADA) 3. Thus, any would-be ADA plaintiff must file her charge of disability

discrimination within three hundred (300) days of the alleged violation. A putative

plaintiff’s failure to cooperate with the EEOC can constitute a failure to exhaust

administrative remedies. See, e.g., Shikles v. Sprint/United Mgmt. Co., 426 F.3d 1304 (10th

Cir. 2005).

       Here, Plaintiff alleges she filed her EEOC charge “on or around December 19,

2019.” [Doc. 1-2, ¶ 15]. Accordingly, any events possibly covered by that charge would

had to have happened on or after February 22, 2019. This would exclude all events in 2018

(such as Plaintiff’s bowel collapse), and her alleged “discipline” in December of 2018 .The

factual averments in this regard are a nullity, and cannot serve to support a cause of action.

Further, such claims are void, and must be dismissed for failure to properly exhaust

administrative remedies.

II.    THE UNIVERSITY IS IMMUNE.

       a. OADA claim

       The Eleventh Amendment is alive and well. “The history of the adoption and

development of the Amendment ... confirms that it is an independent limitation on all

exercises of Art. III power: ‘the entire judicial power granted by the Constitution does not

embrace authority to entertain suit brought by private parties against a State without



3
   Oklahoma is a “deferral state,” which means that a state agency has authority to
investigate employment discrimination; Title VII requires claimants to file a charge of
discrimination within 300 days of the alleged unlawful employment practice. OKLA. STAT.
tit. 25 § 1502; 42 U.S.C. § 2000e–5(e)(1). Thuc Tran v. Sonic Indus. Servs., Inc., 767 F.
Supp. 2d 1217, 1224 fn.1 (W.D. Okla. 2011), aff’d sub nom. Tran v. Sonic Indus. Servs.,
Inc., 490 F. App'x 115 (10th Cir. 2012)
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consent given,’” Ex parte State of New York No. 1, 256 U.S. 490, 497, 41 S.Ct. 588, 589

(1921). Simply put, the State of Oklahoma has “not waived its immunity to suit under the

OADA.” Elwell v. Oklahoma ex rel. Bd. of Regents of Univ. of Oklahoma, 693 F.3d 1303,

1305 (10th Cir. 2012) (affirming trial court’s holding that Oklahoma has not waived its

immunity from suit under the OADA). Because the University (as an arm of the State of

Oklahoma) is immune from suit under the OADA, and has not waived that immunity, this

claim must be dismissed. Under the GTCA, and the principles of State sovereign immunity,

Plaintiff’s OADA claim is void. Jurisdiction is absent; State immunity is intact; and this

claim must be dismissed.

       b. FMLA claim

       Plaintiff purports to bring her Lawsuit (in part) under the FMLA, but the State of

Oklahoma retains its sovereign immunity against Plaintiff’s FMLA suit. Plaintiff alleges

that she sought FMLA protected leave “in September 2018 for her bowel collapse and June

2019 for her hysterectomy.” [Doc. 1-2, ¶ 9] Both of these conditions are Plaintiff’s, and

the care would be for Plaintiff herself. The Supreme Court has explicitly stated that, “the

self-care provision [of the FMLA] is not a valid abrogation of the States’ immunity from

suit.” Coleman v. Court of Appeals of Maryland, 132 S.Ct. 1327, 1334 (2012). 4 Therefore,




4
  Plaintiff also mentions at paragraph 12 of her Complaint that she “requested an
accommodation for intermittent leave for her husband’s terminal medical condition.” [Doc.
1-2]. However, Plaintiff does not allege any factual averments tending to show that she
was prohibited from taking such leave, or that such leave served as the basis for any adverse
action at all.
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the State’s Eleventh Amendment immunity is intact, this Court lacks jurisdiction to hear

this claim against SEOSU, and this claim should be dismissed.

       c. ADA claim

       This claim is also subject to Oklahoma’s Eleventh Amendment immunity.

Although the Lawsuit does not attempt to specify one way or the other, Plaintiff

presumably seeks to bring her claim pursuant to Title I of the ADA, as that is the title

dealing with accommodation in employment. The Tenth Circuit has held that claims of

employment discrimination under the ADA must be brought under Title I of that Act.

Elwell v. Okla. ex rel. Bd. of Regents of Univ. of Okla., 693 F.3d 1303, 1309 (10th Cir.

2012). But when the employer is a state or state entity, (such as Oklahoma or its public

education institutions), the claim is barred, due to sovereign immunity. As the United States

Court of Appeals for the Tenth Circuit put it:

       Congress has not effectively abrogated immunity for ADA employment
       claims. See Bd. of Trustees of Univ. of Ala. v. Garrett, 531 U.S. 356, 360,
       121 S.Ct. 955, 148 L.Ed.2d 866 (2001); Elwell v. Okla. ex rel. Bd. of Regents,
       693 F.3d 1303, 1309-10 (10th Cir. 2012). And Oklahoma has retained its
       sovereign immunity.

See OKLA. STAT. tit. 51 § 152.1. Bright v. Univ. of Oklahoma Bd. of Regents, 705 F.App’x

768, 769 (10th Cir. 2017) (Emphasis added.)

       Since Congress has not abrogated Oklahoma’s immunity against Title I ADA

employment claims, and Oklahoma “has retained its sovereign immunity” against such

claims, Plaintiff’s ADA employment claim is a nullity, and the Court must dismiss it.




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III.   THE LAWSUIT LACKS SUFFICIENT FACTUAL AVERMENTS.

       Plaintiff’s Lawsuit should be dismissed pursuant to Rule 12(b)(6) for its failure to

provide sufficient factual allegations in support of its conclusory statements. The Lawsuit’s

threadbare recitals do not nudge any of her claims across the line of plausibility, as set forth

more fully as follows:

       a. ADA claim

       Plaintiff purports to predicate her Lawsuit in part on the notion of disability

discrimination. But Plaintiff’s factual averments in this regard fall short. To begin with,

Plaintiff’s Lawsuit never actually describes a disability. The word “disability” appears only

twice in the entire Complaint (both in the second sentence of paragraph 12), but Plaintiff

offers no factual allegations as to what her purported disability is. Nor does Plaintiff bother

to allege (even in a threadbare or conclusory fashion) that she is a qualified individual

under the ADA.

       “To sustain [an employment-discrimination] claim under the ADA, [the plaintiff]

must show that [s]he (1) was disabled; (2) was qualified ..., and (3) suffered adverse

employment action because of the disability.” Rivero v. Bd. of Regents of Univ. of New

Mexico, 950 F.3d 754, 760 (10th Cir. 2020) (quoting Mathews v. Denver Post, 263 F.3d

1164, 1167 (10th Cir. 2001). Plaintiff has shown none of these three things. No factual

averments demonstrate Plaintiff’s alleged disability, nor do any factual averments show a

causal relationship between the phantasmal disability and any adverse employment action.

While the Complaint does allege, one time, that “in April 2019 Plaintiff was given an

above-average performance evaluation” [Doc. 1-2, ¶ 11], the Complaint makes no mention

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of her overall qualifications for her job, or (more importantly) what her job performance

was in October 2019 at the time of her termination. In short, Plaintiff’s factual averments

fall short of the Twombly/Iqbal standard, and her Complaint must be dismissed.

       b. FMLA

       To be eligible for FMLA leave, an employee must have been “employed for at least

1,250 hours of service during the 12–month period immediately preceding the

commencement of the leave....” 29 C.F.R. § 825.110(a)(2). Plaintiff makes no factual

allegation demonstrating her qualification in this regard, or that she had any remaining

FMLA-covered days still available to her. Thus, Plaintiff’s Complaint fails to provide

sufficient minimum factual allegations about her qualification to take FMLA leave, and

dismissal is warranted.

       Even assuming, arguendo, Plaintiff had alleged facts showing her entitlement to the

FMLA leave she took, Plaintiff alleges merely in conclusory fashion that, Defendants

subjected Plaintiff to retaliation, including termination and discipline, “for her opposing

unlawful discrimination in violation of the ADA, OADA, and FMLA” and “for exercising

her rights under ADA, OADA and FMLA.” [Doc. 1-2, ¶¶ 16 and17] Plaintiff also

summarily claims, “Defendants interfered with her ability to exercise her rights under the

FMLA.” Id. at ¶ 18. But Plaintiff offers little in the way of supporting factual allegations

for any of these assertions.

       An interference claim under the FMLA requires plaintiff to show: “(1) that [s]he

was entitled to FMLA leave, (2) that some adverse action by the employer interfered with

h[er] right to take FMLA leave, and (3) that the employer’s action was related to the

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exercise or attempted exercise of h[er] FMLA rights.” Campbell v. Gambro Healthcare,

Inc., 478 F.3d 1282, 1287 (10th Cir. 2007) (alteration in original) (quoting Jones v. Denver

Pub. Sch., 427 F.3d 1315, 1319 (10th Cir. 2005)); see also 29 U.S.C. § 2615(a)(1)

(prohibiting interference with FMLA rights). Timing is important when evaluating a

plaintiff’s FMLA claims. Under an interference claim, plaintiff “must show that she was

prevented from taking the full 12 weeks’ of leave guaranteed by the FMLA, denied

reinstatement following leave, or denied initial permission to take leave.” Id. (citing

Metzler v. Fed. Home Loan Bank of Topeka, 464 F.3d 1164, 1181 (10th Cir. 2006). It arises

“when an adverse employment decision is made before the employee has been allowed to

take FMLA leave or while the employee is still on FMLA leave.” Dalpiaz v. Carbon Cnty.,

Utah, 760 F.3d 1126, 1132 (10th Cir. 2014). In contrast, a retaliation claim arises when,

after successfully taking FMLA leave, the employee returns to work and suffers adverse

employment consequences “post-dating her return to work.” Id. at 1287-88. “To establish

a prima facie FMLA retaliation claim, a plaintiff must show that (1) she availed herself of

a protected right under the FMLA, (2) an employment decision adversely affected her, and

(3) a causal connection between the two actions exists.” Murray v. Walgreens Co., No.

CIV-05-1125-M, 2006 WL 1049623, at *2 (W.D. Okla. Apr. 14, 2006) (quoting Chavez v.

Thomas & Betts Corp., 396 F.3d 1088, 1104 (10th Cir.2005).

       With regard to Plaintiff’s interference claim, she does not allege that she was

prevented from taking any leave she sought. Plaintiff does offer one lone allegation that

when she “request[ed] leave for her June 2019 hysterectomy, Defendants informed

Plaintiff that she was not able to take leave, despite actually being eligible for medical

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leave.” [Doc. 1-2, ¶ 10]. Plaintiff offers no factual allegations showing she was actually

eligible, but even if she had, she concedes in the same paragraph that Defendants approved

her leave, and did so in advance. Defendants submit that this is not enough to maintain a

claim for FMLA interference. Whether Defendants’ purported communication to Plaintiff

was, for example, that she did not have enough leave to take leave with pay, or that she had

already taken twelve weeks’ worth of FMLA-protected leave that year, or whatever else,

the fact remains she was allowed to take leave. Thus, her interference claim fails.

         As to Plaintiff’s retaliation claim, she alleges she was “disciplined for her previously

approved medical absences in her December 2018 performance evaluation.” [Doc. 1-2, ¶

9]. As noted, above herein, such a claim is too old to serve as the basis for a viable FMLA

retaliation claim as Plaintiff’s charge with the EEOC was not filed timely thereafter. Thus,

this claim must be dismissed to the extent it relies on these events. Plaintiff does also allege

that she took FMLA leave in July of 2019, and that she took intermittent leave (apparently

in September 2019, as stated in [Doc. 1-2, ¶ 12]), 5 followed by her termination in October

2019. But, she concedes that termination in October was preceded by a recommendation

for her termination some two months earlier in August of 2019. But Plaintiff has not alleged

any facts showing a causal relationship between her multiple uses of FMLA-protected

leave and her ultimate termination. Plaintiff’s Complaint fails to meet the 12(b)(6)

standard, and must be dismissed.




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    The date of this leave is not specified in Plaintiff’s Complaint.
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       c. OADA

       The OADA prohibits employers from discharging or otherwise discriminating

against any individual with respect to compensation, terms, conditions, or privileges of

employment on the basis of race, color, religion, sex, national origin, age, genetic

information or disability. OKLA. STAT. tit. 25 §§ 1302(A)(1), 1301(4). Here, Plaintiff only

raises the spectre of possible disability discrimination. See [Doc. 1-2, generally]. As a

precondition to suit, “the OADA requires a plaintiff to file a charge of discrimination”

either with the EEOC or the Oklahoma Attorney General's Office “within 180 days from

the last date of the alleged discrimination.” Tolbert v. Ean Servs., LLC, No. 15-CV-735-

GKF-TLW, 2016 WL 796096, at *3 (N.D. Okla. Feb. 26, 2016) (citing OKLA. STAT. tit.

25 § 1350(B)). That requirement is jurisdictional. See id. (citing Stuart v. Colo. Interstate

Gas Co., 271 F.3d 1221, 1225 (10th Cir. 2004)). “[T]he timely filing of a charge is required

‘[i]n order to have standing in a court of law to allege discrimination arising from an

employment-related matter.’ ” Id. (quoting OKLA. STAT. tit. 25 § 1350(B)). Further, to the

extent there may be an extension for federal claims due to possible work-sharing

agreements between federal and Oklahoma state offices, such would be unavailing as to

any OADA claims. To wit, “a timely federal filing cannot remedially extend a state-law

statute of limitations.” Johnson v. Wal-Mart Stores E., LP, No. 17-CV-341-GKF-FHM,

2017 WL 3586710, at *2 (N.D. Okla. Aug. 18, 2017) (citing Forcum v. Via Christi Health

System, Inc., 137 P.3d 1250, 1253 (Okla. Civ. App. 2006). Plaintiff fails to plead factual

averments demonstrating a timely-raised right to recovery under the OADA. Thus,

dismissal is appropriate.

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       Further, Plaintiff generally fails to allege sufficient facts showing a right to recovery

under the OADA. As noted, above, Plaintiff offers no factual averments showing a

disability. There is no allegation the University Defendants regarded or treated Plaintiff as

a disabled person. Thus, just as with Plaintiff’s putative ADA claim, “disability” cannot

serve as the basis for any claim under the OADA. Plaintiff’s OADA-based claim is, in fact,

baseless, and must be dismissed.

                                      CONCLUSION

       Plaintiff’s Lawsuit fails to state a claim, and fails to confer jurisdiction. Plaintiff’s

Lawsuit should be dismissed pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), as outlined

herein. Defendants RUSO and SEOSU ask this Court grant dismissal of all claims, and for

such other relief as the Court deems just and appropriate.

                                            Respectfully submitted,

                                            /s/ Jeb Joseph
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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 31st day of August 2020, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing. I further certify
that a true and correct copy of the foregoing document was sent via the ECF System to the
following persons who are registered participants:

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                                           Jeb Joseph




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